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11
                                   UNITED STATES DISTRICT COURT
12                                CENTRAL DISTRICT OF CALIFORNIA
13     STEPHANIE CLIFFORD a.k.a.                           Case No. 2:18-cv-06893-JLS-FFM
14     STORMY DANIELS,
                                                           PLAINTIFF’S REQUEST FOR JUDICIAL
15                   Plaintiff,                            NOTICE OF PLAINTIFF’S PETITION
                                                           FOR REHEARING EN BANC IN THE
16            v.                                           UNITED STATES COURT OF APPEALS
17                                                         FOR THE NINTH CIRCUIT
       DONALD J. TRUMP,
18                                                         Assigned for All Purposes to the
                     Defendant.                            Hon. Josephine L. Staton
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20                                                         Action Filed: April 30, 2018

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1             Plaintiff Stephanie Clifford, a.k.a. Stormy Daniels (“Ms. Clifford”) hereby requests
2      that this Court take judicial notice of the Petition for Rehearing En Banc filed on August
3      14, 2020, by Plaintiff (Appellant) Stephanie Clifford with the United States Court of
4      appeals for the Ninth Circuit (Case No. 18-56351, Docket Entry: 46), a copy of the filing
5      is attached hereto as Exhibit 1. Plaintiff has asked the Ninth Circuit to review en banc the
6      panel’s Memorandum decision dated July 31, 2020. Thus, until the Ninth Circuit rules on
7      the petition for rehearing, the mandate will not issue. See Fed. R. App. P. 41 (b).
8             Judicial notice of the Petition for Rehearing En Banc is properly taken by this
9      Court. See Fed. R. Evid. 201(b) (“The court may judicially notice a fact that is not subject
10     to reasonable dispute because it: (1) is generally known within the trial court’s territorial
11     jurisdiction; or (2) can be accurately and readily determined from sources whose accuracy
12     cannot reasonably be questioned.”). Indeed, federal courts can take judicial notice of their

13     own records or those of other courts. See, e.g., United States v. Wilson, 631 F.2d 118, 119

14     (9th Cir. 1980) (“[A] court may take judicial notice of its own records in other cases, as

15     well as the records of an inferior court in other cases.”). In fact, under Federal Rule of

16     Evidence 201(d), any federal court can take judicial notice at any stage of the proceeding,

17     even during an appeal. See Lowry v. Barnhart, 329 F.3d 1019, 1024 (9th Cir. 2003).

18            For all these reasons, the Court should take judicial notice of Plaintiff’s en banc

19     appellate filing.

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       Dated: August 14, 2020
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22                                          Respectfully Submitted,

23                                          /s/ Mbilike M. Mwafulirwa
24                                         Clark O. Brewster - OBA #1114 (Admitted PHV)
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1                                 CERTIFICATE OF SERVICE
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3            I hereby certify that on August 14, 2020, I electronically filed the foregoing using
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       the court’s CM/ECF system which will send notification of such filing to all counsel of
5
       record.
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9                                                             /s/Mbilike M. Mwafulirwa
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